 

Case 1:17-cv-01915-YK-EB Document1 Filed 10/20/17 Page 1 of 9

UNLTED STATES OxrsTRrcT COURT

 

 

 

 

 

 

 

 

 
  

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Case 1:17-cv-01915-YK-EB Document1 Filed 10/20/17 Page 2 of 9

 

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Case 1:17-cv-01915-YK-EB Document1 Filed 10/20/17 Page 3 of 9

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Case 1:17-cv-01915-YK-EB Document1 Filed 10/20/17 Page 4 of 9

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Case 1:17-cv-01915-YK-EB Document1 Filed 10/20/17 Page 5 of 9

 

 

 

 

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Case 1:17-cv-01915-YK-EB Document1 Filed 10/20/17 Page 6 of 9

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Case 1:17-cv-01915-YK-EB Document1 Filed 10/20/17 Page 7 of 9

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Case 1:17-cv-01915-YK-EB Document1 Filed 10/20/17 Page 8 of 9

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Case 1:17-cv-0191 -
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